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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                  Plaintiff,

                             v.                              CIVIL ACTION
                                                             NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                          Defendant.



        RESPONSE TO PLAINTIFF’S JUNE 11, 2021 STATUS REPORT BY ALL
                         CURRENT DEFENDANTS

       The current Defendants – Secretary William Francis Galvin, Michelle Tassinari, Debra

O’Malley, the National Association of State Election Directors, and Amy Cohen – hereby submit

this response to Plaintiff’s status report of June 11, 2021. Although the Court’s Order of June 1,

2021 [Docket No. 135] required Plaintiff to file a status report that set forth the “parties’

respective views on any disputed issues” to be presented to the Court at the upcoming hearing on

June 15, 2021, Plaintiff has refused to comply with that obligation. The report filed by Plaintiff

instead misstates the Defendants’ positions that were discussed during the parties’ meet and

confer. Although the Defendants urged Plaintiff to edit his report to reflect the Defendants’

positions more accurately, Plaintiff declined to do so. Accordingly, Defendants jointly file this


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response to articulate their positions on Plaintiff’s proposed agenda of matters to be discussed at

the June 15, 2021 hearing and to add one other item to the proposed agenda for the Court’s

consideration.

       1.        Proposed Amended Complaint. Defendants do not oppose Plaintiff’s proposal to

file a motion for leave to file a new Second Amended Complaint by July 15, 2021, although

Defendants reserve the right to oppose any motion to amend and to move to dismiss any new

Second Amended Complaint.

       2.        Jurisdictional Discovery. Defendants oppose commencing discovery on

jurisdictional issues. Defendants contend that any discovery requests that Plaintiff intends to

propound at the same time he submits a new Proposed Second Amended Complaint are

premature. Defendants believe that the current motions to dismiss, including the motion to

dismiss on jurisdictional grounds, should be decided without any discovery. But if this Court

permits Plaintiff to file a new Complaint, it will likely contain different claims, different parties,

and different allegations, and any motions to dismiss a new Complaint will accordingly present

different arguments. Therefore, Defendants believe that discovery is premature until Plaintiff

submits a new Complaint, the Court allows that new Complaint to be filed, and the Defendants

move to dismiss it; at that point, the Court should reassess the need to conduct jurisdictional

discovery.

       3.        Resolution of Motions to Dismiss Claims on behalf of Individual Defendants in

their Personal Capacities. The individual Defendants who have been sued in their personal

capacities request that the Court adjudicate their motions to dismiss. As the Court explained at

the May 20, 2021 hearing, it was likely to dismiss these claims as being barred by qualified

immunity, among other reasons. Plaintiff indicated during the parties’ meet and confer that he

was still considering maintaining claims against the individual Defendants in a new Second
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Amended Complaint. The individual Defendants encourage the Court to adjudicate their

pending motions to dismiss the claims asserted against them.

                                            Respectfully submitted,

                                            Defendants,

                                            WILLIAM FRANCIS GALVIN, in his official and
                                            individual capacities, MICHELLE TASSINARI, in
                                            her individual capacity, and DEBRA O’MALLEY,
                                            in her individual capacity,

                                            By their attorneys,

                                            MAURA HEALEY
                                            ATTORNEY GENERAL

                                            /s/ Adam Hornstine
                                            Anne Sterman (BBO No. 650426)
                                            Adam Hornstine (BBO# 666296)
                                            Assistant Attorneys General
                                            Office of the Attorney General
                                            One Ashburton Place
                                            Boston, MA 02108
                                            617-963-2048
                                            Anne.Sterman@mass.gov
                                            Adam.Hornstine@mass.gov

                                            NATIONAL ASSOCIATION OF STATE
                                            ELECTION DIRECTORS and AMY COHEN,

                                            By their attorneys,

                                            /s/ Nolan J. Mitchell
                                            Nolan J. Mitchell
                                            Quarles & Brady LLP
                                            1701 Pennsylvania Avenue
                                            Suite 700
                                            Washington, D.C. 20006
                                            Telephone: (202) 780-2644
                                            Facsimile: (202) 372-9572
                                            E-mail: Nolan.Mitchell@quarles.com


Date: June 11, 2021

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                                  CERTIFICATE OF SERVICE

        I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day, June
11, 2021, served the foregoing Report, upon all parties, by electronically filing to all ECF
registered parties.

                                             /s/ Adam Hornstine
                                             Adam Hornstine




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